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 8
      CITY OF WEST SACRAMENTO, ANGEL BARAJAS, OSCAR VILLEGAS, DONALD
 9    SAYLOR, CHAD RINDE, AARON LAUREL, KEN HIATT, and MICHAEL WEBB

10                                 UNITED STATES DISTRICT COURT
11
                                  EASTERN DISTRICT OF CALIFORNIA
12
13    MICHAEL BISCH, an individual,                   )   Case No.: 2:23-cv-00455-MCE-DB
                                                      )
14
                                    Plaintiff,        )   STIPULATION AND ORDER TO
15                                                    )   EXTEND TIME TO RESPOND TO
                            vs.                       )   COMPLAINT
16                                                    )
17    COUNTY OF YOLO, et al.,                         )
                                                      )
18                                  Defendants.       )
19           Plaintiff MICHAEL BISCH (“Plaintiff”) and Defendants County Of Yolo, City Of Davis,
20    City Of Woodland, City Of West Sacramento, Angel Barajas, Oscar Villegas, Donald Saylor, Chad
21    Rinde, Aaron Laurel, Ken Hiatt, and Michael Webb (“Defendants”) (collectively, “Parties”), by
22    and through their respective counsel, hereby stipulate as follows:
23           WHEREAS, Defendants previously filed a Motion to Dismiss and an Anti-SLAPP Motion
24    in this matter that were denied without prejudice as a result of a stay that has since been lifted
25    (ECF Nos. 22, 33);
26           WHEREAS, Plaintiff has agreed to produce potentially relevant evidence that may impact
27    the scope of Defendants’ motions;
28           WHEREAS, the Parties agree that additional time is necessary for Plaintiff to produce this
                                                  -1-
                  STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1    evidence and for Defendants to review the materials before re-filing the Motion to Dismiss and
 2    Anti-SLAPP Motion;
 3           NOW, THEREFORE, the Parties stipulate and agree that Defendants’ deadline to re-file
 4    the Motion to Dismiss and Anti-SLAPP Motion shall be extended to September 26, 2024.
 5
 6    IT IS SO STIPULATED.
 7
 8     Dated: September 9, 2024                          ANGELO, KILDAY & KILDUFF, LLP
 9                                                              /s/ Jacob J. Graham
10                                                       By:_________________________________
                                                            SERENA M. WARNER
11                                                          JACOB J. GRAHAM
                                                            Attorneys for Defendants COUNTY OF
12                                                          YOLO, CITY OF DAVIS, CITY OF
13                                                          WOODLAND, CITY OF WEST
                                                            SACRAMENTO, ANGEL BARAJAS,
14                                                          OSCAR VILLEGAS, DONALD
                                                            SAYLOR, CHAD RINDE, AARON
15
                                                            LAUREL, KEN HIATT, and MICHAEL
16                                                          WEBB

17     Dated:                                            SANJIV N. SINGH, A PROFESSIONAL
                                                         LAW CORPORATION
18
19                                                              /s/ Sanjiv N. Singh
                                                                (as authorized on 9.6.24)
20                                                       By:_________________________________
                                                            SANJIV N. SINGH
21
                                                            Attorneys for Plaintiff MICHAEL BISCH
22
       Dated:                                            INDRAJANA    LAW    GROUP,              A
23                                                       PROFESSIONAL CORPORATION
24
                                                                /s/ Michael B. Indrajana
25                                                              (as authorized on 9.6.24)
                                                         By:_________________________________
26                                                          MICHAEL B. INDRAJANA
27                                                          Attorneys for Plaintiff MICHAEL BISCH

28
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                 STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT
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 1                                            ORDER
 2          IT IS HEREBY ORDERED Defendants’ deadline to re-file the Motion to Dismiss and
 3    Anti-SLAPP Motion shall be extended to September 26, 2024.
 4          IT IS SO ORDERED.
 5
 6    Dated: September 9, 2024
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                 STIPULATION AND ORDER TO EXTEND TIME TO RESPOND TO COMPLAINT
